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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION



 UNITED STATES OF AMERICA,

            V.                                             CASENO.:CR2:18-cr-48


 BRONCO DARELLE JACKSON,

                   Defendant.



                                          AFFIDAVIT


        NOW COMES,the above-stated defendant,and gives this affidavit stating that the address
set forth below and in the within attached appearance bond (or personal recognizance) will
constitute a valid mailing address for service and notice of all court proceedings, appearing dates,
and all pleadings.

        The affiant also agrees that he will immediately notify the Clerk's office for the Southern
District of Georgia of any change in the above address, and further agrees that notice sent to this
address will constitute valid service of notice of proceedings in the event that he moves without
notifying the Clerk's office by an acceptable writing of a new address.

           This )I^^v ofDecember,2018.


                                                  Defendant-Bronco Darelle Jackson



                                          1 Ij            Defendant's Address


Sworn to and suj^scribed before me
this _ll     day       ^         2018.



  im Nfixon, Courtroom Deputy Clerk
